 Case 2:20-mj-04963-DUTY Document 7 Filed 10/14/20 Page 1 of 2 Page ID #:11



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 s                        UNITED STATES.DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11   iJ1VITED STATES OF AMERICA,              Case No. ZD ''~~ ~ 19~
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                        Plaintiff,
                                              ORDER OF DETENTION AFTER
13
            v.                                HEARING
14
             (~u~lt$~~ ~S~u~~~, [Fed.R.Crim.P. 32.1(A)(6);
15
     ~~SSrP~                    18 U.S.C. § 3143(A)]

16
                        Defendant.
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is
19         The defendant having been arrested in this District pursuant to a warrant
20   issued by the United States District Court for the Soct'~e/l~ ~~1/~~ d~ ~rt~l~'~
21   for alleged violations) of the terms and conditions of his/her [fin]
22   [supervised release]; and
23         The Court having conducted a detention hearing pursuant to Federal Rule of
24   Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
25         The Court finds that:
26   A. ~         The defendant has not met his/her burden of establishing by clear and
a~         convincing evidence that ke~she is not likely to flee if released under 18
2s         U.S.C. § 3142(b)or (c). This finding is based on   de~aK.~~ de.~ ,~o~
                                                                                    s-e~ bail,
 Case 2:20-mj-04963-DUTY Document 7 Filed 10/14/20 Page 2 of 2 Page ID #:12



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 4         and/or
 5   B.   ~      The defendant has not met his/her burden of establishing by clear and
 6         convincing evidence that lie/she is not likely to pose a danger to the safety of
           any other person or the community if released under 18 U.S.C. § 3142(b) or
 s        (c). This finding is based on: ~~~.~K~            p(,~;,Q,~ h ~ ~~ ~jq~l
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13         IT THEREFORE IS ORDERED that the defendant be detained pending the
14   further revocation proceedings.
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16   Dated:   ~ d!       dZ U
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                                               ALEXANDER F. MacKINNON
20                                         UNITED STATES MAGISTRATE JiJDGE
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as
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